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     IT IS ORDERED as set forth below:



     Date: September 21, 2017
                                                    _____________________________________
                                                               Wendy L. Hagenau
                                                          U.S. Bankruptcy Court Judge

_______________________________________________________________



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                     )       CASE NO. 15-53700-WLH
                                           )
BRENDA KAY ROBERTSON,                      )       CHAPTER 7
                                           )
                      Debtor.              )
                                           )
                                           )
RES-GA DIAMOND MEADOWS, LLC,               )
                                           )
                      Plaintiff,           )
                                           )
v.                                         )       ADV. PROC. NO. 15-05436
                                           )
BRENDA KAY ROBERTSON,                      )
                                           )
                      Defendant.           )
                                           )

                                          ORDER

         This matter comes before the Court on Defendant Brenda Robertson’s (“Robertson”)

Motion to Strike (“Motion”) [Docket No. 109]. Robertson filed a motion seeking summary

judgment on January 20, 2017 (“Summary Judgment Motion”) [Docket No. 76]. After receiving

an extension of time to file a response, RES-GA Diamond Meadows, LLC (“RGDM”) filed its


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response to the Summary Judgment Motion on February 28, 2017 (“Response”) [Docket No.

100]. Robertson timely filed her reply brief on March 14, 2017 (“Reply Brief”) [Docket No.

102], along with a supplemental affidavit (“Supplemental Affidavit”) [Docket No. 103]. RGDM

filed a sur-reply on March 28, 2017, arguing Robertson’s Reply Brief and Supplemental

Affidavit included new arguments and evidence that required further response (“Sur-Reply”). In

the Motion, Robertson seeks to strike the Sur-Reply on the grounds that a sur-reply is not

permitted under local rules of this Court.

       As an initial matter, the Court notes it is not procedurally proper to strike a sur-reply.

Gemini Ins. Co. v. Stafford Transport, Inc., 2016 WL 4582071, at *2 (N.D. Ga. May 27, 2016).

Fed. R. Civ. P. 12(f), made applicable to this proceeding by Fed. R. Bankr. P. 7012, only permits

the court to strike materials from pleadings. Id.; see also Fed. R. Civ. P. 12(f). Neither a reply

brief nor a sur-reply is considered a pleading for purpose of Rule 12(f). See Fed. R. Civ. P. 7(a)

(pleadings include a complaint, an answer to a complaint, an answer to a counterclaim, an

answer to a crossclaim, a third-party complaint, an answer to a third-party complaint, and if so

ordered by the court, a reply to an answer). Robertson’s Motion is not procedurally proper,

therefore RGDM’s Sur-Reply will not be stricken from the record. However, it is standard

practice for the party seeking to file a sur-reply to first move the court for leave to file the sur-

reply. See Groobert v. President and Directors of Georgetown College, 219 F. Supp. 2d 1, 13 n.2

(D.D.C. 2002). Because no such motion was filed, Robertson was denied the opportunity to

raise any objections to RGDM filing a brief beyond what is permitted by this Court’s local rules.

Accordingly, the Court will construe Robertson’s Motion as an objection to RGDM’s filing of

the Sur-Reply.




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       A sur-reply “is an additional reply to a motion filed after the motion has already been

fully briefed.” Thomas v. Wilkinson, 2017 WL 262062, at *1 (E.D. Cal. Jan. 18, 2017). Neither

the Federal Rules of Civil Procedure nor this Court’s local rules authorize the filing of a sur-

reply. Fedrick v. Mercedes-Benz USA, LLC, 366 F. Supp. 2d 1190, 1197 (N.D. Ga. 2005); In re

Harmon, 512 B.R. 321, 335 (Bankr. N.D. Ga. 2014); see also BLR 7007-1. A court has

considerable discretion to permit the filing of a sur-reply, and it “should generally only be

allowed when ‘a valid reason for such additional briefing exists, such as where the movant raises

new arguments in its reply brief.’” First Specialty Ins. Corp. v. 633 Partners, Ltd., 300 Fed.

Appx. 777, 788 (11th Cir. 2008) (quoting Fedrick, 366 F. Supp. 2d at 1197).

       RGDM’s Sur-Reply states Robertson raised three new arguments in her Reply Brief.

Initially, RGDM argues the Reply Brief claimed for the first time that res judicata does not apply

specifically because Georgia law requires an identity of parties.         The Court understands

Robertson’s original argument regarding the impact of the judgment in question to be that the

judgment is binding on Robertson but insufficient to prove intent for the purpose of RGDM’s

claim under Section 727(a)(2). The Court finds the position asserted in the Reply Brief could be

construed as a change in Robertson’s position, particularly because Robertson appears to argue

in the Reply Brief that the prior judgment does not apply at all with respect to either the Section

727 claim or the Section 523 claim.       Accordingly, the Court will consider the portion of

RGDM’s Sur-Reply related to Robertson’s res judicata argument.

       Second, RGDM argues Robertson stated for the first time in the Reply Brief that the

South Bay Property transfer was a valid transaction for which Robertson received consideration.

RGDM’s real argument appears to be that Robertson should have provided more specific

information regarding the alleged consideration for the South Bay Property prior to filing the




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Reply Brief. The Court finds Robertson responded to the South Bay Property consideration

issue in her response to RGDM’s summary judgment motion (Doc. No. 98, ¶ iv., p.5) and in

response to RGDM’s statement of undisputed facts (Doc. No. 99, ¶ 32, p.11). The Court finds

that Robertson’s arguments related to the South Bay Property in her Reply Brief are not new

arguments and do not warrant a response in the form of a Sur-Reply. The Court will, therefore,

not consider the portions of RGDM’s Sur-Reply related to the South Bay Property transfer.

       RGDM also alleges Robertson addressed the arguments regarding the Supreme Court’s

decision in Husky International Electronics, Inc. v. Ritz, 136 S. Ct. 1581 (2016) for the first time

in her Reply Brief. Specifically, RGDM argues that the Reply Brief referenced for the first time

the language in the opinion that Section 523(a)(2)(A) only applies to “behavior connected to

specific debts….” 136 S. Ct. at 1589-90. Robertson specifically argued, however, that RGDM’s

debt was not “in any way based on fraud by [Robertson]” in her response to RGDM’s summary

judgment motion. (Doc. No. 98, ¶ ix., p.7). Therefore, the Court will not consider the portions

of RGDM’s Sur-Reply related to the decision in Husky.

       Lastly, RGDM argues new evidence was presented in the Supplemental Affidavit that

warrants response, or in the alternative should not be considered for purposes of Robertson’s

Summary Judgment Motion. The Supplemental Affidavit only provided information in response

to RGDM’s briefing, and did not include new evidence material to any of RGDM’s claims.

Therefore, the Court finds the Supplemental Affidavit was properly filed with the Reply Brief.

See Key v. Shelby Cty., 551 Fed. Appx. 262, 264 (6th Cir. 2014) (quoting Peters v. Lincoln

Electric Co., 285 F.3d 456, 476 (6th Cir. 2002)). The Supplemental Affidavit will therefore be

considered for purposes of Robertson’s Summary Judgment Motion and does not provide a basis

for RGDM’s Sur-Reply.




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          The Court notes the parties have extensively briefed the cross-motions for summary

judgment in this adversary proceeding. Both motions have been fully briefed. At RGDM’s

request, the Court permitted the parties to add fifteen additional pages to their respective

summary judgment motions, a substantial increase over what is permitted under this Court’s

local rules. See BLR 7007-1(e). Because the parties’ arguments have been fully briefed through

the parties’ filings, the Court finds that declining to consider portions of the Sur-Reply as

described herein will not result in a “substantial prejudicial effect” on RGDM’s prosecution of its

claims. Alexander v. Fulton Cty., 207 F.3d 1303, 1326 (11th Cir. 2000). To otherwise permit

the filing of sur-replies when they are not absolutely necessary “would put the court in the

position of refereeing an endless volley of briefs.” Fedrick, 366 F. Supp. 2d at 1197. 1

Accordingly, it is hereby:

          ORDERED that the Sur-Reply will be considered for the limited purpose of responding

to Robertson’s res judicata argument, and the remaining arguments will not be considered by the

Court at this time;

          ORDERED FURTHER that Robertson’s Motion is otherwise DENIED as provided

herein.

          The clerk is directed to serve a copy of this order on Plaintiff’s counsel and counsel for

Defendant.

                                       END OF DOCUMENT




1
 RGDM also attached a seventy-eight page exhibit to the Sur-Reply. Because the exhibit was not relevant to
RGDM’s arguments on the mutuality requirement for res judicata in Georgia, it will not be considered.


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